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                   EXHIBITA
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                          INTHE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OFTEXAS
                                   HOUSTON DIVISION

WILMINGTON SAVINGS FUND §
SOCIETY, FSB, NOT INITS INDIVIDUAL §
CAPACITY BUT SOLELY AS §
CERTIFICATE TRUSTEE OF BOSCO §
CREDIT IITRUST SERIES 2010-1, §                             Civil Action No. 4:22-cv-1342

    Plaintiff, §

v. §

KRISTI DUNN, §

    Defendant. §

                         DECLARATION OFMARK D.CRONENWETT

        Pursuant to28U.S.C.Section 1746, Ideclare under penalty ofperjury that thefollowing

statements aretrueandcorrect:

        1. “        Myname isMark D.Cronenwett. Iamover theageof21years andamfully

competent tomake this Declaration. Allstatements offactmade herein aretrue, correct, andwithin

mypersonal knowledge.

        2.         Iam anattorney for Wilmington Savings Fund Society, FSB, notinitsIndividual

Capacity butSolely asCertificate Trustee ofBosco Credit IITrust Series 2010-1 (“Wilmington”

or “Plaintiff”).

        3.         Myfirmhasrepresented Plaintiff inprior actions, including butnotlimited toCivil

Action No. 4:22-cv-1342 intheUnited States District Court fortheSouthern District ofTexas.

        4.         Iamanattorney licensed topractice intheState ofTexas and Iamamember the

United States District Court for theSouthern District ofTexas. Iamcurrently managing attorney

forthe litigation department ofthelawfirm ofMackie Wolf Zientz & Mann, P.C. (MWZM), with


 DECLARATION OF MARK D. CRONENWETT
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offices located inDallas, Texas andHouston, Texas. Iam ingood standing with respect tothe

State BarofTexas.

       5.      MWZM was retained byPlaintiff toenforce Defendant’sobligation topaytheNote

andseek apersonal money judgment against theDefendant. The legal professionals of MWZM

with whom Iworked inproviding these services areatallrelevant times attorneys licensed bythe

State ofTexas, ingood standing and experienced intheareas ofbusiness, real estate, and

commercial litigation practice. Without waiving theattorney-client privilege, thesubject matter of

thecounsel andrepresentation provided to Plaintiff byMWZM legal professionals included, but

was notlimited to:review andanalysis oftheloan documents atissue; review andanalysis ofthe

history ofthismatter; preparation andfiling oftheOriginal Complaint inthisaction; completing

service; drafting amotion forsummary judgment; drafting aresponse toamotion todismiss;

conducting legal research; drafting aresponse toamotion forsummary judgment andmultiple

conferences with Plaintiff’smortgage servicer regarding allofthese items and this matter

generally. These activities aresetforth inchronological order byname and dateontheinvoices

included withthemotion asExhibit A-1.The hours setforth foreach activity were actually

expended onthetopics stated.

       6.      The reasonable incurred attorneys’ fees are $6,037.50 infiling andprosecuting

Plaintiff’sclaims asaresult ofthedefault ofunder theNote between theparties. Thehourly rate

charged is $200.00per hour forattorneys and $125.00perhour forparalegals andlegal assistants.

       7.      Ihave become familiar with thelegalservices necessary tohandle claims based on

andthereasonable charges forsuch legal services intheUnited States District Court forthe

Southern District ofTexas andwithin theState ofTexas.




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       8.      Ianticipate that Plaintiff willincur anadditional $30,000.00inattorney’sfeesin

order toenforce Plaintiff’sright tocollect under the Note, through trial.

       9.      Based upon myknowledge andexperience with similar litigation inthestate and

federal courts inTexas, andapplying thefacts andfactors setoutabove, itismyopinion that the

hourly rate ofupto $200.00perhourforattorneys and $125.00perhour forparalegals andlegal

assistants arereasonable andcustomary.”

       FURTHER DECLARANT SAYETH NAUGHT.

       Signed thisJune 5,2023.




                                             MARK D.CRONENWETT




 DECLARATION OF MARK D. CRONENWETT
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Invoice#:

Invoice Date: 06/05/2023

Loan N
Reference:
Property Addr: 13681 Bighorn Trail
Willis, TX 77378
Our File: 20-000023-740



FEES                                             0.00
EXPENSES                                         605.00
TIME                                             5432.50
TOTAL                                            6037.50
                                  Thank you for the opportunity to beof service.
        Please contact invoicing@mwzmlaw.com for any questions or concerns regarding items on this invoice.
